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 4     WILLIAM C. PEACHEY
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 5     Office of Immigration Litigation
 6     U.S. Department of Justice
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       Senior Litigation Counsel
10     NICOLE N. MURLEY
11     Senior Litigation Counsel
12
13     Attorneys for Federal Respondents-Defendants
14
15                           UNITED STATES DISTRICT COURT
16
                           SOUTHERN DISTRICT OF CALIFORNIA
17
18     MS. L, et al.,                    ) Case No. : 3:18-cv-0428 DMS MDD
19                                       )
                 Petitioners-Plaintiffs, )
20                                       ) MOTION TO WITHDRAW COUNSEL,
21           vs.                         ) SCOTT G. STEWART
                                         )
22     U.S. IMMIGRATION AND              )
23     CUSTOMS ENFORCEMENT, et al., )
                                         )
24
                 Respondents-Defendants. )
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 1     TO: THE CLERK OF THE COURT
 2     AND TO: ALL PARTIES OF RECORD AND THEIR COUNSEL:
 3
 4     PLEASE TAKE NOTICE that Scott G. Stewart hereby respectfully moves to
 5     withdraw as counsel of record for Defendants-Respondents in the above-captioned
 6     case on the grounds that his employment with the U.S. Department of Justice will
 7     end on January 20, 2021. Defendants will continue to be represented by all remaining
 8     counsel of record for Defendants.
 9
10     Dated this January 13, 2021                  Respectfully submitted,
11
                                                    JEFFREY BOSSERT CLARK
12                                                  Acting Assistant Attorney General
13
                                                    WILLIAM C. PEACHEY
14                                                  Director
15
                                                    WILLIAM C. SILVIS
16
                                                    Assistant Director
17
18                                              By: Sarah B. Fabian
                                                  SARAH B. FABIAN
19                                                NICOLE N. MURLEY
20                                                Senior Litigation Counsel
21                                                  Attorneys for Defendants
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 1                              CERTIFICATE OF SERVICE
 2           I hereby certify that on January 13, 2021, a copy of the foregoing was filed
 3     via the court’s CM/ECF system, which will send electronic notice to all counsel of
 4     record. A copy of this Notice will also be served by email on all Defendants-
 5     Respondents in the above-captioned case.
 6
                                                    /s/ Sarah B. Fabian
 7
                                                    Sarah B. Fabian
 8
 9                                                  Attorney for Defendants
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